Case 1:20-cv-23819-RNS Document 35 Entered on FLSD Docket 03/08/2021 Page 1 of 1




                              United States District Court
                                        for the
                              Southern District of Florida

   Ron Von Paulus, Plaintiff                )
                                            )
   v.                                       )
                                              Civil Action No. 20-23819-Civ-Scola
                                            )
   Real Green Systems, LLC,                 )
   Defendant                                )

        Order Administratively Closing Case upon Notice of Settlement
         The parties have settled this action. (ECF No. 33.) By April 5, 2021, the
  Plaintiff must file a stipulation of dismissal, under Federal Rule of Civil
  Procedure 41(a)(1)(A)(ii), or a motion to dismiss, consistent with Rule 41(a)(2).
  The Court will administratively close this case in the meantime.
         If the Plaintiff files a stipulation of dismissal under Rule 41(a)(1)(A)(ii) and
  the parties wish to have this Court retain jurisdiction to enforce any settlement
  agreement, the stipulation of dismissal must include the following sentence:
  “The effectiveness of this stipulation of dismissal is conditioned upon the
  Court’s entry of an order retaining jurisdiction to enforce the terms of the
  parties’ settlement agreement.” This sentence is necessary because a
  stipulation of dismissal is otherwise self-executing and deprives the Court of
  jurisdiction to do anything further. See Anago Franchising, Inc. v. Shaz, LLC,
  677 F.3d 1272, 1280 (11th Cir. 2012).
         The Court directs the Clerk to close this case. Any party may move to re-
  open the case if there is a problem in reaching a final settlement agreement.
  Any pending motions are denied as moot.
        Done and ordered in Miami, Florida, on March 8, 2021.

                                                ________________________________
                                                Robert N. Scola, Jr.
                                                United States District Judge
